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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

            In re:                                                     §
                                                                       §             Case No. 21-30725 (DRJ)
            BRAZOS ELECTRIC POWER                                      §
            COOPERATIVE, INC.,                                         §             Chapter 11
                                                                       §
                      Debtor.1                                         §
            In re:                                                     §
                                                                       §             Case No. 22-30682 (DRJ)
            BRAZOS SANDY CREEK ELECTRIC                                §
            COOPERATIVE, INC.,                                         §             Chapter 7
                                                                       §
                      Debtor.                                          §

                          JOINT EMERGENCY MOTION FOR AUTHORIZATION AND
                        APPROVAL OF SETTLEMENT BETWEEN (I) BRAZOS ELECTRIC
                         AND (II) CHAPTER 7 TRUSTEE AND COLLATERAL TRUSTEE

                     EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS
                     REQUESTED NOT LATER THAN 5:00 PM (PREVAILING CENTRAL
                     TIME) ON SEPTEMBER 6, 2022.

                     IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE
                     THAT EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
                     MUST APPEAR AT THE HEARING IF ONE IS SET, OR FILE A WRITTEN
                     RESPONSE PRIOR TO THE DATE THAT RELIEF IS REQUESTED IN
                     THE PRECEDING PARAGRAPH. OTHERWISE, THE COURT MAY
                     TREAT THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF
                     REQUESTED.

        TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

                     Janet S. Northrup, not individually, but as the chapter 7 trustee (the “Chapter 7 Trustee”)

        for the bankruptcy estate (the “BSCEC Estate”) of Brazos Sandy Creek Electric Cooperative, Inc.

        (the “BSCEC”) in the above-captioned chapter 7 case (the “Chapter 7 Case”), and the debtor



        1
              The debtor in the Chapter 11 Case, along with the last four digits of its federal tax identification number is: Brazos
              Electric Power Cooperative, Inc. (4729). Additional information regarding the Chapter 11 Case may be obtained
              on the website of Brazos Electric’s claims and noticing agent at http://cases.stretto.com/Brazos. Brazos Electric’s
              address is 7616 Bagby Avenue, Waco, TX 76712.



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        Brazos Electric Power Cooperative, Inc. (“Brazos Electric”2 and collectively with the Chapter 7

        Trustee, the “Movants”) in the above-captioned chapter 11 case (the “Chapter 11 Case” and

        collectively with the Chapter 7 Case, the “Cases”), pursuant to 11 U.S.C. § 105(a) and Fed. R.

        Bankr. P. 9019, hereby move (this “Joint Motion”) the Court for the entry in each of the Cases of

        an order, in form and substance as attached hereto as Exhibit A (the “Proposed Order”),

        authorizing and approving the settlement (the “Settlement”) set forth in the agreement (the

        “Agreement”) attached to the Proposed Order as Exhibit 1 by and between (i) Brazos Electric, on

        the one hand, and, on the other, (ii)(a) the Chapter 7 Trustee and (b) Computershare Trust

        Company, N.A., the collateral trustee for the Secured Parties (as defined in the Collateral

        Indenture, Security and Assignment Agreement by and between BSCEC and the Collateral Trustee

        concerning the Notes (as defined below) dated November 4, 2009) (the “Collateral Trustee” and

        together with the Movants, the “Parties” and each a “Party”) with respect to the 6.54% Series

        2009A Senior Secured Notes due June 30, 2024 issued by BSCEC (the “Notes”). In support of

        this Joint Motion, the Movants respectfully state as follows:

                                      JURISDICTION, VENUE AND AUTHORITY

                   1.       The Court has jurisdiction over this Joint Motion pursuant to 28 U.S.C. § 1334.

        This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). This Court has

        constitutional authority to enter final orders with respect to the relief requested herein. The

        Movants confirm their consent to the Court’s entry of final orders or judgments on the Joint Motion

        if it is later determined that, in the absence of the consent of the Movants, the Court does not have

        constitutional authority to enter final orders or judgments hereon.


        2
            In support of the Joint Motion, Brazos Electric submits Brazos Electric’s Declaration of Clifton Karnei in Support
             of Joint Motion for Authorization and Approval of Settlement Between (I) Brazos Electric and (II) the Chapter 7
             Trustee and Collateral Trustee filed contemporaneously herewith.


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                 2.    Venue in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 3.    The bases for the relief requested herein are section 105 of the title 11 of the United

        States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Rule 9019 of the Federal Rules

        of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                          FACTUAL BACKGROUND

        A.       The Cases and the Claim Objections

                 4.    On March 1, 2021 (the “Chapter 11 Petition Date”), Brazos Electric filed a

        voluntary petition for relief under chapter 11 of the Bankruptcy Code, thereby initiating the

        Chapter 11 Case. Brazos Electric has continued in the possession of its property and has continued

        to operate and manage its business as a debtor in possession pursuant to sections 1107(a) and 1108

        of the Bankruptcy Code.

                 5.    On March 15, 2021, the Office of the United States Trustee for the Southern District

        of Texas (the “U.S. Trustee”) formed an Official Committee of Unsecured Creditors

        (the “Committee”) in this chapter 11 case. See Chapter 11 Case, Dkt. No. 216. The Committee

        was reconstituted by the U.S. Trustee on March 24, 2021. See Chapter 11 Case, Dkt. No. 285. No

        trustee or examiner has been appointed in the Chapter 11 Case.

                 6.    On March 16, 2022, Brazos Electric filed its Emergency Motion for an Order

        (I) Authorizing the Debtor to Reject Certain Power Purchase Agreements and (II) Granting

        Related Relief [Chapter 11 Case, Dkt. No. 1622] (the “Rejection Motion”). The Rejection Motion

        sought, among other things, approval of Brazos Electric’s proposed rejection of the BSCEC PPA

        and the SCEA PPA (as defined in the Rejection Motion) nunc pro tunc to the date of the Rejection

        Motion. See Rejection Mot. ¶ 1.

                 7.    On March 18, 2022 (the “Chapter 7 Petition Date”), BSCEC filed a voluntary

        petition for relief under chapter 7 of the Bankruptcy Code, thereby initiating the Chapter 7 Case.

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        Thereafter, the Chapter 7 Trustee was duly appointed as the chapter 7 trustee of the BSCEC Estate

        in the Chapter 7 Case. On April 25, 2022, the Meeting of Creditors was held in the Chapter 7 Case

        and continued to May 5, 2022, on which date the Meeting of Creditors was concluded.

                 8.     On March 28, 2022, the Court entered an Order [Chapter 7 Case, Dkt. No. 35] (the

        “Operations Order”), without objection, authorizing the Trustee to operate temporarily BSCEC’s

        business retroactive to the Petition Date to preserve the value of the BSCEC Estate.

                 9.     On April 14, 2022, the Court entered the Amended Stipulation and Agreed Order

        Regarding Rejection of Certain Power Purchase Agreement [Chapter 11 Case, Dkt. No. 1692],

        which provided for, among other things, the rejection of the BSCEC PPA, but reserved certain

        rights, including, without limitation, as to the effective date of rejection.

                 10.    On June 12, 2022, the Chapter 7 Trustee filed the Motion to: (I) Approve Bidding

        Procedures; (II) Approve Assumption and Assignment Procedures; (III) Approve Stalking Horse

        Procedures and Bid Protections; (IV) Schedule Auction and Sale Hearing; (V) Authorize the

        Trustee to Conduct the Sale and Assume and Assign Executory Contracts; (VI) Approve the Form

        and Manner of Notice Thereof; and (VII) For Related Relief [Chapter 7 Case, Dkt. No. 129] (the

        “Sale Process Motion”) to establish procedures for the sale of the BSCEC Estate’s interest in the

        Sandy Creek Energy Station.

                 11.    On July 12, 2022, the Court held a hearing and approved the bidding and sale

        process (the “Sale Process”) proposed in the Sale Process Motion, and on July 16, 2022, the Court

        entered the related Order (I) Approving Bidding Procedures; (II) Approving Assumption and

        Assignment Procedures; (III) Approving Stalking Horse Procedures and Bid Protections; (IV)

        Scheduling Auction and Sale Hearing; (V) Authorizing the Trustee to Conduct the Sale and Assume

        and Assign Executory Contracts; (VI) Approving the Form and Manner of Notice Thereof; and



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        (VII) Granting Related Relief [Docket No. 184] (the “Sale Process Order”). In accordance with

        the Sale Process Order, the Chapter 7 Trustee and her advisors have been marketing the TIC

        Interest (as defined in the Sale Process Order) and have given all required notices of the Sale

        Process in accordance with the provisions of the Sale Process Order.

                 12.   On April 14, 2022, the Chapter 7 Trustee filed Claim No. 761 (“Claim No. 761”)

        asserting, among other things, a general unsecured claim in the amount of $11,497,185.45 based

        on amounts due by Brazos Electric to BSCEC as of the Chapter 7 Petition Date. On May 23, 2022,

        the Chapter 7 Trustee filed Claim No. 773 (“Claim No. 773,” and together with Claim No. 761,

        the “Trustee’s Claims”), asserting a general unsecured claim for rejection damages in the amount

        of at least $438,296,721.00, as is further discussed in the Attachment to Proof of Claim by the

        Chapter 7 Trustee for Brazos Sandy Creek Electric Cooperative, Inc. attached to Claim No. 773.

                 13.   On April 8, 2022, the Collateral Trustee, on behalf of the holders of (or managers

        or investment managers to certain holders of) the Notes and each of their respective agents,

        members, managers, officers, directors, and employees (the “Noteholders”), filed Claim No. 758

        against Brazos Electric in the Chapter 11 Case (“Claim No. 758”). On May 23, 2022, the

        Collateral Trustee filed Claim No. 772 against Brazos Electric in the Chapter 11 Case (“Claim

        No. 772,” and together with Claim No. 758, the “Collateral Trustee’s Claims,” and together with

        the Trustee’s Claims, the “Claims”) asserting a rejection damages claim of at least $434,967,371.

                 14.   On June 25, 2022, Brazos Electric filed the Debtor’s Objection to Proof of Claim

        Nos. 761 and 773 Filed by Janet Northrup, Solely in Her Capacity as Chapter 7 Trustee for Brazos

        Sandy Creek Electric Cooperative, Inc. [Chapter 11 Case, Dkt. No. 1917] (the “Chapter 7 Trustee

        Objection”). On June 26, 2022, Brazos Electric filed the Debtor’s Objection to Proof of Claim

        Nos. 758 and 772 Filed by Computershare Trust Company, N.A. [Chapter 11 Case, Dkt. No. 1920]



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        (the “Collateral Trustee Objection,” and together with the Chapter 7 Trustee Objection, the

        “Claims Objections”), initiating a contested matter (the “Contested Matter”) to determine the

        allowance of the Claims filed by the Trustee and the Collateral Trustee.

                 15.   On July 11, 2022, the Bankruptcy Court entered the Amended Agreed Scheduling

        Order Regarding Debtor’s Objections to Brazos Sandy Creek Electric Cooperative, Inc.’s Proofs

        of Claim Nos. 761 and 773 [Docket No. 1917] and Computershare Trust Company, N.A.’s Proofs

        of Claim Nos. 758 and 772 [Docket No. 1920] [Chapter 11 Case, Dkt. No. 1989] (the “Scheduling

        Order”), which provided for an expedited schedule for the Contested Matter, including, among

        other things, pre-discovery summary judgment motions on certain agreed threshold legal issues.

        On July 15, 2022, in accordance with the Scheduling Order, the Parties filed the Notice of Joint

        Statement of Issues for Summary Judgment [Chapter 11 Case, Dkt. No. 2037].

                 16.   On July 27, 2022, in accordance with the Scheduling Order, Brazos Electric filed

        the Debtor’s Motion for Partial Summary Judgment Regarding the BSCEC Trustee and

        Computershare Claims [Chapter 11 Case, Dkt. No. 2062], the Chapter 7 Trustee filed the

        Chapter 7 Trustee’s Motion for Summary Judgment [Chapter 11 Case, Dkt. No. 2063] and the

        Memorandum of Law in Support of Chapter 7 Trustee’s Motion for Summary Judgment

        [Chapter 11 Case, Dkt. No. 2064], and the Collateral Trustee filed the Joinder of Computershare

        Trust Company, N.A. to Chapter 7 Trustee’s Motion for Summary Judgment and Memorandum in

        Support [Chapter 11 Case, Dkt. No. 2067] (collectively, the “Summary Judgment Motions”).

                 17.   On August 10, 2022, in accordance with the Scheduling Order, Brazos Electric filed

        the Debtor’s Response to Chapter 7 Trustee’s Motion for Summary Judgment [Chapter 11 Case,

        Dkt. No. 2104], the Chapter 7 Trustee filed the Chapter 7 Trustee’s Response to Debtor’s Motion

        for Partial Summary Judgment Regarding the BSCEC Trustee and Computershare Claims



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        [Chapter 11 Case, Dkt. No. 2102], the Collateral Trustee filed the Joinder of Computershare Trust

        Company, N.A. to Chapter 7 Trustee’s Response to Debtor’s Motion for Partial Summary Judgment

        Regarding the BSCEC Trustee and Computershare Claims [Chapter 11 Case, Dkt. No. 2103]

        (collectively, the “Summary Judgment Responses”).3

                 18.      The respective positions of the Parties regarding the underlying merits of the

        Claims Objections, including, without limitation, the relative strength of such positions, are set

        forth in the Summary Judgment Motions and Summary Judgment Responses. As is also set forth

        therein, the full amounts of the Claims of the Chapter 7 Trustee and the Collateral Trustee are at

        issue in the Contested Matter.

                 19.      After the filing of the Claim Objections, the Parties agreed to mediate (the

        “Mediation”) their disputes concerning the Claims Objections before Judge Marvin Isgur of the

        United States Bankruptcy Court for the Southern District of Texas. During the Mediation, the

        Parties engaged in good faith discussions related to a potential resolution of the Claims and the

        Claims Objections.

                 20.      As a result of the Mediation, the Parties have agreed to resolve the Claims

        Objections and resolve the allowance of the Claims pursuant to a “mediator’s proposal,” the terms

        of which form the basis of the Settlement, as set forth in the Agreement.

        B.       The Proposed Settlement

                 21.      The Agreement provides the following material terms:4

                          a.       The BSCEC Estate and the Collateral Trustee shall have an allowed general
                                   unsecured claim (the “BSCEC Allowed Claim”) in the amount of one-
                                   hundred sixty-five million dollars ($165,000,000) (the “Claim Amount”)

        3
             The Summary Judgment Motions and Summary Judgment Responses are incorporated herein by reference.
        4
             This summary is illustrative and subject to, and superseded by, the terms and conditions of the Proposed Order
             and the Agreement. All internal references in this summary are the internal references utilized in the Agreement.


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                            against Brazos Electric in the Chapter 11 Case. The BSCEC Allowed Claim
                            is not subject to setoff, recoupment, withholding, avoidance,
                            recharacterization, subordination, or any other defense, claim, or cause of
                            action by any party in interest in the Chapter 11 Case.

                       b.   Any chapter 11 plan filed in the Chapter 11 Case (any “Chapter 11 Plan”)
                            shall provide the following:

                            (1)    Subject to Sections 3(c)–(d) and 4 below, the BSCEC Allowed
                                   Claim and the Chapter 7 Trustee and the Collateral Trustee
                                   (collectively, including any successor or assignee, the “Holder”),
                                   shall receive the same treatment as all other allowed general
                                   unsecured claims and all holders of any such allowed general
                                   unsecured claims (collectively, the “GUCs”) under any Chapter 11
                                   Plan; provided, however, that, at a minimum, the Holder shall
                                   receive, on account of the BSCEC Allowed Claim, indefeasible cash
                                   distributions equal in the aggregate to not less than eighty-seven
                                   percent (87%) of the Claim Amount, i.e., one-hundred forty-three
                                   million five-hundred fifty thousand dollars ($143,550,000) (the
                                   “Minimum Distribution Amount”), payable in cash as follows:
                                   (x) approximately sixty percent (60%) of the Minimum Distribution
                                   Amount, i.e., approximately eighty-six million one-hundred thirty
                                   thousand dollars ($86,130,000), on the effective date (the “Effective
                                   Date”) of a confirmed Chapter 11 Plan (such distribution, as
                                   modified by Section 3(c) below, the “Effective Date Distribution”);
                                   and (y) the remaining approximately forty percent (40%) of the
                                   Minimum Distribution Amount, i.e., approximately fifty-seven
                                   million four-hundred twenty thousand dollars ($57,420,000) as
                                   promptly as is practicable after the Effective Date, including partial
                                   distributions when available (such distribution(s), as modified by
                                   Section 3(c) below, the “Post-Effective Date Distribution(s)” and
                                   together with the Effective Date Distribution, the “Distributions”).
                                   Except as otherwise set forth in Section 24 of this Agreement or as
                                   otherwise agreed by the Chapter 7 Trustee and the Collateral Trustee
                                   (notice of which shall be provided to Brazos Electric), the
                                   Distributions shall be made to the BSCEC Estate.

                            (2)    Brazos Electric shall sell its generation or other assets, obtain
                                   financing, or take such other steps as are necessary to make the
                                   Distributions. The Chapter 7 Trustee and the Collateral Trustee
                                   shall be entitled to reasonable information and updates regarding
                                   such efforts and distributions, subject to the execution of a
                                   customary non-disclosure agreement acceptable to the Parties.
                                   Brazos Electric shall also provide the Chapter 7 Trustee, the
                                   Collateral Trustee, and their respective advisors and counsel,
                                   periodic reports by teleconference or televideo with Brazos
                                   Electric’s advisors and counsel and an opportunity to ask questions

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                                  and receive answers in respect of Brazos Electric’s progress
                                  regarding such efforts and distributions, including, without
                                  limitation, the Chapter 11 Case and any Chapter 11 Plan.

                            (3)   To the extent the terms of any Chapter 11 Plan concerning the
                                  treatment of or recovery to or for GUCs are improved or otherwise
                                  increased as compared to Section 3(a)–(b) above (for example,
                                  without limitation, distributions in excess of the Minimum
                                  Distribution Amount on the BSCEC Allowed Claim, faster payment
                                  or other assurances of payment, or enhanced information or
                                  reporting rights), this Agreement shall be deemed amended to
                                  provide for and any such Chapter 11 Plan shall likewise provide for
                                  such improved or increased treatment or recovery for the Holder
                                  with respect to the BSCEC Allowed Claim (but under any
                                  circumstances the Minimum Distribution Amount shall be payable
                                  to the Holder in cash).

                            (4)   Without affecting the timing of any payment obligation hereunder
                                  or the ability to enforce such payment obligation or the timing
                                  thereof, if the Distributions have not been paid in full pursuant to
                                  Section 3(a) on or before the date that is one year from the Effective
                                  Date, the Collateral Trustee shall have the option to require Brazos
                                  Electric to make payment on fifteen (15) days’ written notice to
                                  Brazos Electric (the “Option”). The Option may be exercised within
                                  three (3) business days of the date that is one (1) year after the
                                  Effective Date and the exercise of the Option by the Collateral
                                  Trustee shall be binding upon the Holder. Upon the exercise of the
                                  Option by the Collateral Trustee, Brazos Electric shall make
                                  payment within fifteen (15) days of such written notice. If Brazos
                                  Electric timely pays any unpaid amounts such that total
                                  Distributions paid equal the Minimum Distribution Amount within
                                  fifteen (15) days of such written notice, total cash distributions on
                                  the BSCEC Allowed Claim shall equal the Minimum Distribution
                                  Amount, i.e., one-hundred forty-three million five-hundred fifty
                                  thousand dollars ($143,550,000), and such final distribution will be
                                  paid in cash in full and final satisfaction of the BSCEC Allowed
                                  Claim. If such payment is not timely made on or before the date that
                                  is fifteen (15) days from such notice, the Holder shall be entitled to
                                  immediate payment in cash of any unpaid amounts of the
                                  Distributions at any improved or increased treatment or recovery to
                                  or for GUCs under any Chapter 11 Plan (whether or not then
                                  distributable to GUCs under such Chapter 11 Plan), but in any case
                                  not less than the Minimum Distribution Amount. (For example,
                                  without limitation, if full cash payment is not received within fifteen
                                  (15) days of the written notice and the highest total recovery for
                                  GUCs under the Chapter 11 Plan is 90%, Brazos Electric shall
                                  immediately pay the Holder in cash the amount sufficient for all cash

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                                    distributions on the BSCEC Allowed Claim under the Chapter 11
                                    Plan to total 90% of the BSCEC Allowed Claim, i.e., one hundred
                                    forty eight million five hundred thousand dollars ($148,500,000).)
                                    For the avoidance of doubt, if the Collateral Trustee exercises the
                                    Option, the Holder shall not be entitled to any further distributions
                                    once fully paid pursuant to this Section 3(d).

                       c.    Notwithstanding anything to the contrary herein, the BSCEC Allowed
                             Claim amount shall be subject to a downward adjustment if the Net Sales
                             Proceeds (as defined below) from a sale in the Chapter 7 Case under
                             section 363 of the Bankruptcy Code of the BSCEC Estate’s interest in the
                             assets related to the Sandy Creek Energy Station (collectively, a “Sale”)
                             exceed the amount of one-hundred fifty million dollars ($150,000,000) (the
                             “Sale Floor”). Such downward adjustment shall be equal to 114.94% of the
                             amount by which the Net Sale Proceeds exceed the Sale Floor. (For
                             example, without limitation, if the Net Sales Proceeds are one-hundred
                             fifty-five million dollars ($155,000,000), the BSCEC Allowed Claim
                             amount shall be reduced from one-hundred sixty-five million dollars
                             ($165,000,000) to one-hundred fifty-nine million two-hundred fifty-three
                             thousand dollars ($159,253,000).) Under no circumstance, however, can
                             the adjustment in this Section 4 cause any amount to be owed or payable to
                             Brazos Electric or the amount of the BSCEC Allowed Claim to decrease
                             below $0.00. The Holder shall provide Brazos Electric, and its respective
                             advisors and counsel, periodic reports by teleconference or televideo with
                             the Holder’s advisors and counsel and an opportunity to ask questions and
                             receive answers regarding the status of the sale process to the extent the
                             provision of such reports or answers would not chill bidding or otherwise
                             adversely impact the sale process. Brazos Electric, and its advisors and
                             counsel, shall be bound by the mediation confidentiality agreement in
                             respect of such reports or answers. Any such downward adjustment
                             occurring after the Effective Date, regardless of the timing of the Effective
                             Date Distribution, shall be applied first to reduce the Post-Effective Date
                             Distribution(s) payable by Brazos Electric under Section 3 above. For
                             purposes of this Section 4, “Net Sale Proceeds” means the proceeds of a
                             Sale paid to the Chapter 7 Trustee on behalf of the BSCEC Estate
                             (regardless of whether those proceeds are redirected to pay BSCEC Estate
                             creditors directly) net of (i) the following specifically associated with such
                             Sale: professional fees, expenses, taxes, recording charges, and other like
                             customary closing costs; and (ii) the Chapter 7 Trustee’s commission for
                             distribution of Sale proceeds from the BSCEC Estate.

                       d.    Subject to the rights and obligations arising under this Agreement and
                             subject to the approval of this Agreement by a final order of the Bankruptcy
                             Court, and effective as of the Effective Date and the receipt of any Effective
                             Date Distribution due, Brazos Electric irrevocably releases (i) BSCEC, the
                             BSCEC Estate, the Chapter 7 Trustee, their current or former officers,
                             directors, agents, professionals, attorneys, and employees, and each of their

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                             predecessors in interest, successors, and assigns, as to each of the foregoing
                             solely in such capacities, of and from any and all obligations, causes of
                             action, claims, liabilities, and demands of any kind whatsoever, at law or in
                             equity, direct or indirect, known or unknown, discovered or undiscovered,
                             from the beginning of time to the Agreement Date, arising out of, by reason
                             of, or related to Brazos Electric, BSCEC, the BSCEC Estate, the Chapter 7
                             Trustee, the Collateral Trustee, the Noteholders, the BSCEC PPA, the
                             Consent and Agreement, the Collateral Indenture, the NPA, and the Notes;
                             (ii) the Collateral Trustee, its predecessors, successors, assigns, and co-
                             trustees, and their current or former officers, directors, agents, members,
                             managers, professionals, attorneys, and employees, as to each of the
                             foregoing solely in such capacities, of and from any and all obligations,
                             causes of action, claims, liabilities, and demands of any kind whatsoever, at
                             law or in equity, direct or indirect, known or unknown, discovered or
                             undiscovered, from the beginning of time to the Agreement Date, arising
                             out of, by reason of, or related to Brazos Electric, BSCEC, the BSCEC
                             Estate, the Chapter 7 Trustee, the Collateral Trustee, the Noteholders, the
                             BSCEC PPA, the Consent and Agreement, the Collateral Indenture, the NPA
                             and the Notes; and (iii) the current or prior holders of (or managers or
                             investment managers of current or prior holders of) the Notes and each of
                             their respective agents, members, managers, officers, directors,
                             professionals, attorneys, and employees, and each of their predecessors in
                             interest, successors, and assigns (the “Noteholders”), as to each of the
                             foregoing solely in such capacities, of and from any and all obligations,
                             causes of action, claims, liabilities, and demands of any kind whatsoever, at
                             law or in equity, direct or indirect, known or unknown, discovered or
                             undiscovered, from the beginning of time to the Agreement Date, arising
                             out of, by reason of, or related to Brazos Electric, BSCEC, the BSCEC
                             Estate, the Chapter 7 Trustee, the Collateral Trustee, the Noteholders, the
                             BSCEC PPA, the Consent and Agreement, the Collateral Indenture, the
                             NPA, and the Notes.

                       e.    Subject to the rights and obligations arising under this Agreement and
                             subject to the approval of this Agreement by a final order of the Bankruptcy
                             Court, and effective as of the Effective Date and the receipt of any Effective
                             Date Distribution due, the Chapter 7 Trustee, on behalf of the BSCEC Estate
                             and any party claiming by or through it, irrevocably releases Brazos
                             Electric, its current or former officers, directors (as well as the current or
                             former officers and directors, agents, attorneys or professionals of BSCEC
                             not (a) currently retained or employed by the Chapter 7 Trustee and not (b)
                             currently or formerly providing goods or services for the operation or
                             maintenance of the Sandy Creek Energy Station), agents, members,
                             managers, professionals, attorneys, and employees, and each of their
                             predecessors in interest, successors, and assigns, as to each of the foregoing
                             solely in such capacities (collectively, the “Brazos Electric/BSCEC
                             Released Parties”), of and from any and all obligations, causes of action,
                             claims, liabilities, and demands of any kind whatsoever, at law or in equity,

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                               direct or indirect, known or unknown, discovered or undiscovered, from the
                               beginning of time to the Agreement Date, arising out of, by reason of, or
                               related to Brazos Electric, BSCEC, the BSCEC Estate, the Chapter 7
                               Trustee, the Collateral Trustee, the Noteholders, the BSCEC PPA, the
                               Consent and Agreement, the Collateral Indenture, the NPA, and the Notes;
                               provided, however, for the avoidance of doubt, this Section 6 shall effect a
                               release only with respect to the Brazos Electric/BSCEC Released Parties
                               and shall not affect or impair any obligations, causes of action, claims,
                               liabilities, or demands, whether pursuant to this Agreement or otherwise,
                               arising or otherwise existing solely between or among the Chapter 7
                               Trustee, BSCEC, the BSCEC Estate, the Collateral Trustee, or the
                               Noteholders (none of whom are released parties under this Section 6).

                       f.      Subject to the rights and obligations arising under this Agreement and
                               subject to the approval of this Agreement by a final order of the Bankruptcy
                               Court, and effective as of the Effective Date and the receipt of any Effective
                               Date Distribution due, the Collateral Trustee, on behalf of itself and the
                               Noteholders irrevocably releases the Brazos Electric/BSCEC Released
                               Parties of and from any and all obligations, causes of action, claims,
                               liabilities, and demands of any kind whatsoever, at law or in equity, direct
                               or indirect, known or unknown, discovered or undiscovered, from the
                               beginning of time to the Agreement Date, arising out of, by reason of, or
                               related to Brazos Electric, BSCEC, the BSCEC Estate, the Chapter 7
                               Trustee, the Collateral Trustee, the Noteholders, the BSCEC PPA, the
                               Consent and Agreement, the Collateral Indenture, the NPA, and the Notes;
                               provided, however, for the avoidance of doubt, this Section 7 shall effect a
                               release only with respect to the Brazos Electric/BSCEC Released Parties
                               and shall not affect or impair any obligations, causes of action, claims,
                               liabilities, or demands, whether pursuant to this Agreement or otherwise,
                               arising or otherwise existing solely between or among the Chapter 7
                               Trustee, BSCEC, the BSCEC Estate, the Collateral Trustee, or the
                               Noteholders (none of whom are released parties under this Section 7).

                                             RELIEF REQUESTED

                 22.   By this Joint Motion, the Movants request that this Court enter in each of the Cases

        the Proposed Order authorizing and approving the Settlement, as set forth in the Agreement, by

        and between (i) Brazos Electric, on the one hand, and, on the other hand, (ii)(a) the Chapter 7

        Trustee and (b) the Collateral Trustee.




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                                               BASIS FOR RELIEF

                 23.   Bankruptcy Rule 9019 provides, in relevant part, that “[o]n motion by the trustee

        and after notice and a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr.

        P. 9019(a). “To minimize litigation and expedite the administration of a bankruptcy estate,

        compromises are favored in bankruptcy.” In re Martin, 91 F.3d 389, 393 (3d Cir. 1996).

        Settlements are considered a “normal part of the process of reorganization” and a “desirable and

        wise method[] of bringing to a close proceedings otherwise lengthy, complicated, and costly.”

        Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980) (citations

        omitted) (decided under the Bankruptcy Act). In addition, section 105(a) of the Bankruptcy Code

        authorizes the Court to issue any order “that is necessary or appropriate to carry out the provisions”

        of the Bankruptcy Code. 11 U.S.C. § 105(a).

                 24.   In deciding whether to approve a compromise under Bankruptcy Rule 9019, the

        court must determine if the settlement is “fair and equitable and in the best interest of the estate.”

        Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster Mortg. Corp.), 68 F.3d 914, 917

        (5th Cir. 1995). The Fifth Circuit has established a three-factor balancing test under which

        bankruptcy courts should analyze proposed settlements. In re Age Ref. Inc., 801 F.3d 530, 540

        (5th Cir. 2015). The three factors are: “(1) the probability of success in litigating the claim subject

        to settlement, with due consideration for the uncertainty in fact and law; (2) the complexity and

        likely duration of litigation and any attendant expense, inconvenience, and delay, and (3) all other

        factors bearing on the wisdom of the compromise.” See id. (internal citations omitted). The “other

        factors” include: “(i) the best interests of the creditors, with proper deference to their reasonable

        views; and (ii) the extent to which the settlement is truly the product of arms-length bargaining,

        and not of fraud or collusion.” Id. The role of the bankruptcy court is not to decide the issues in

        dispute when evaluating a settlement. Watts v. Williams, 154 B.R. 56, 59 (S.D. Tex. 1993). Instead,

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        the “court should approve a settlement under Rule 9019 if the settlement is within a range of

        reasonableness, fair and equitable, and in the best interest of the bankruptcy estate.” In re TECNET,

        Inc., No. 04-34162, 2006 Bankr. LEXIS 4572, at *2–3 (Bankr. N.D. Tex. June 2, 2006).

                 25.   Here, the Settlement and entry into the Agreement by Brazos Electric and the

        Chapter 7 Trustee in the Chapter 11 Case and the Chapter 7 Case, respectively, meet the standard

        for approval of a settlement pursuant to Bankruptcy Rule 9019. The Claims Objections involve

        issues of law and fact with uncertain probability of success for both (a) Brazos Electric and (b) the

        Chapter 7 Trustee and the Collateral Trustee. As is more fully set forth in the Summary Judgment

        Motions and the Summary Judgment Responses, the Contested Matters raised novel issues of

        contract interpretation and mitigation obligations, among others. Protracted litigation regarding

        the ultimate resolution of the Claims will be time-consuming and expensive due to the extremely

        complex nature of the issues raised thereby. Moreover, such litigation will cause material delay in

        both Cases. Resolution via the Settlement avoids the risk of an appeal of material issues raised in

        the Contested Matter and the potential of such an appeal to delay or hinder the plan process in the

        Chapter 11 Case. The Settlement will obviate the need for expensive and time-consuming

        litigation regarding allowance of the Claims, including, without limitation, anticipated appeals of

        rulings by this Court in the Contested Matter.

                 26.   The Settlement is the result of extensive arms’ length negotiations and is based on

        a proposal originally formulated by the mediator in the course of the Mediation. As such, the

        Movants submit that the Settlement Agreement is in the best interest of, and maximizes value for,

        both the BSCEC Estate in the Chapter 7 Case as well as Brazos Electric’s estate in the Chapter 11

        Case.




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                                                     NOTICE

                 27.   Notice of this Joint Motion has been provided as follows in accordance with the

        requirements of Bankruptcy Rule 2002(a). With respect to the Chapter 11 Case, Brazos Electric

        has caused notice of this Joint Motion to be given by first-class mail or email or facsimile to the

        parties on the Master Service List in the Chapter 11 Case as well as the Parties and counsel thereto.

        With respect to the Chapter 7 Case, the Chapter 7 Trustee has caused notice of this Joint Motion

        to be given by first-class mail, email, facsimile, or ECF to the U.S. Trustee and the Parties and

        counsel thereto. The Movants submit that, in light of the nature of the relief requested, no other

        or further notice need be given.

                                             NO PRIOR REQUEST

                 28.   No prior request for the relief sought herein has been made by the Movants to this

        Court or to any other court.

                                       BASIS FOR EXPEDITED RELIEF

                 29.   The Parties request expedited consideration of the Motion due to the impending

        filing of Brazos Electric’s proposed plan of reorganization in the Chapter 11 Case, which will

        incorporate the terms of the Agreement to address the treatment of the Claims in such plan.

                                 [Remainder of this page intentionally left blank.]




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                 WHEREFORE, the Movants respectfully request that the Court enter in each of the Cases

        the Proposed Order authorizing and approving the Settlement, as set forth in the Agreement,

        pursuant to section 105 of the Bankruptcy Code and Bankruptcy Rule 9019, and grant such other

        or further relief to which the Movants are justly entitled.

        Dated: August 24, 2022

        Respectfully submitted,

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                          CERTIFICATE OF ACCURACY (CHAPTER 7 CASE)

               The undersigned hereby certifies that the facts and circumstances described in the above
        pleading giving rise to the expedited request for relief are true and correct to the best of my
        knowledge, information, and belief.

                                                    /s/ Heather Heath McIntyre
                                                    Heather Heath McIntyre

                            CERTIFICATE OF SERVICE (CHAPTER 7 CASE)

                The undersigned hereby certifies that true and correct copies of the foregoing and all
        materials filed contemporaneously therewith, including any exhibits or other attachments thereto,
        were served via ECF on all parties receiving ECF notifications in the Chapter 7 Case (as defined
        in the Motion) on August 22, 2022.

                                                    /s/ Heather Heath McIntyre
                                                    Heather Heath McIntyre

                         CERTIFICATE OF ACCURACY (CHAPTER 11 CASE)

               The undersigned hereby certifies that the facts and circumstances described in the above
        pleading giving rise to the expedited request for relief are true and correct to the best of my
        knowledge, information, and belief.


                                                    /s/ Holland N. O’Neil
                                                    Holland N. O’Neil


                          CERTIFICATE OF SERVICE IN CHAPTER 11 CASE

                The undersigned hereby certifies that true and correct copies of the foregoing and all
        materials filed contemporaneously therewith, including any exhibits or other attachments thereto,
        were served via ECF on all parties receiving ECF notifications in the Chapter 11 Case (as defined
        in the Motion) on August 22, 2022.

                                                    /s/ Michael K. Riordan
                                                    Michael K. Riordan




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